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                                   STATEMENT OF FACTS

        Your affiant,                  , is a Special Agent with the Federal Bureau of Investigation
(FBI) assigned to the Maine Joint Terrorism Task Force (JTTF). In my duties as a Special Agent,
I have gained training and experience in interviewing and interrogation techniques, arrest
procedures, search warrant applications, the execution of searches and seizures, the exploitation
of lawfully obtained evidence and data, and various other procedures. As a Special Agent, I am
authorized by law or by a government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

        The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies or is based on a
review of various documents, records, and reports. Because this Affidavit is submitted for the
limited purpose of establishing probable cause, it does not contain every fact known by me or the
FBI. The dates and times listed in this Affidavit should be read as “on or about.”

                  Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, S.E., in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
Temporary and permanent barricades were in place around the exterior of the U.S. Capitol
building, and U.S. Capitol Police were present and attempting to keep the crowd away from the
Capitol building and the proceedings inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.



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       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the events, video footage which appeared to be captured
on mobile devices of persons present on the scene depicted evidence of violations of local and
federal law, including scores of individuals inside the U.S. Capitol building without authority to
be there.

                              Facts Specific to Christopher Maurer

        Based upon review of public video, closed circuit television (“CCTV”) footage and police
body worn camera (“BWC”) footage depicting the events at the U.S. Capitol building and grounds
on January 6, 2021, law enforcement identified an individual who pushed against police and swung
a large pole at police officers near an entrance to the U.S. Capitol. The FBI subsequently posted a
photograph of the individual at the U.S. Capitol under the name 150-AFO and requested help from
the public to identify the individual. As set out in detail below, law enforcement has identified
150-AFO as CHRISTOPHER MAURER (“MAURER”) and there is probable cause to believe that
on January 6, 2021, MAURER committed violations of 18 U.S.C. §§ 231(a) (civil disorder), 111(a)
and (b) (assault of a federal officer with a deadly and dangerous weapon), and 1752(a)(1), (2) and
(4) (unlawful entry on restricted buildings or grounds) and 40 U.S.C. §§ 5104(e)(2)(E) and (F)
(various offenses on Capitol Grounds).

       A. 150-AFO’s Activities at the U.S. Capitol on January 6, 2021
        In January 2021, FBI reviewed CCTV and other video footage from January 6, 2021, to
identify individuals involved in illegal activity to include assaulting federal police officers (AFO).
During this review, an unidentified male was observed on the front lines of rioters in front of law
enforcement on the Lower West Terrace (“LWT”) entryway, known as “the tunnel”. The
individual appeared to grab a law enforcement officer’s shield and appeared to attempt to strike an
officer with a large pole. The individual was labeled by the FBI as BOLO UNSUB 150-AFO
(“150-AFO”). Below is the photograph of 150-AFO posted to FBI’s tip website:




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       Based on a review of video obtained during the investigation of another January 6
defendant (“Video 1”) 150-AFO walked up the steps toward the LWT tunnel at approximately
3:00 p.m.1 Below is a still image from Video 1 depicting 150-AFO approaching the tunnel:




1
  Video 1 does not have timestamps. I have estimated the time based on my comparison of Video 1 with other video,
including CCTV and BWC footage, that does include timestamps.

                                                       3
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        CCTV footage shows that 150-AFO entered the tunnel at approximately 3:01 p.m. and
proceeded quickly through the crowd of other rioters and to the line of police officers who were
defending the entrance to the U.S. Capitol. After reaching the police line, 150-AFO attempted to
pull a police shield and/or strike police officers who were helping another rioter experiencing a
medical emergency. Below is a still image taken from BWC of 150-AFO attempting to strike or
grab a police officer and/or a riot shield at approximately 3:02 p.m.:




       At approximately this same time, the crowd began to physically push up against the police
line. Another video obtained during the investigation of another January 6 defendant (“Video 2”)
depictes 150-AFO as he, and others in the crowd, push against the police line. Below is a still
image from Video 2 depicting 150-AFO pushing against police:




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       150-AFO remained at the police line for several minutes. Below are two still images from
Video 2 depicting 150-AFO at the police line as police attempted to clear the tunnel:




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          According to CCTV footage, 150-AFO left the tunnel at approximately 3:08 p.m. Below
is a still image of CCTV footage depicting 150-AFO moving out of the tunnel:




       The still image below from Video 1 depicts 150-AFO as he exited the tunnel:




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          Approximately one hour and 30 minutes later, 150-AFO reappeared at the tunnel. Below
is a still image from CCTV depicting 150-AFO as he approached the tunnel entry for a second
time that day:




       According to CCTV and BWC footage, as depicted below, 150-AFO screamed at and
gestured to officers on the police line at this time.




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         150-AFO was sprayed with oleoresin capsicum (“OC”) spray by officers during this time.
150-AFO then picked up what appeared to be a long metal pipe or pole from the ground and swung
it at the front line of police officers at the tunnel. Below is a still image from CCTV depicting 150-
AFO swinging the pole at officers:




     150-AFO then displayed both of his middle fingers to police and, according to a review
of BWC footage at this time, shouted “ FUCK YOU ASSHOLES!”
                                                  8
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       150-AFO then walked away from the mouth of the tunnel at approximately 4:32 p.m., as
depicted in the below CCTV still image:




       B. Identification of 150-AFO as CHRISTOPHER MAURER

        During the investigation, law enforcement obtained information relating to cellular
telephones that utilized cell towers in or near the U.S. Capitol building through legal process.
According to those records, a phone using phone number XXX-XXX-4354 (“Maurer Phone 1”)
utilized cell towers near the U.S. Capitol building during the riot on January 6, 2021. Law
enforcement conducted open source research and determined Maurer Phone 1 was registered with
Tracfone. Law enforcement then served legal process on Tracfone for subscriber information for
Maurer Phone 1. According to Tracfone records, Maurer Phone 1 was registered to “Chris Maurer”
with an address on South Street in Biddeford, Maine (“Maurer Residence”).

        In or around September 2021, law enforcement made contact with Biddeford Police
Department, Biddeford, Maine to obtain records regarding police calls for service at the Maurer
Residence. The records, in summary, revealed that on or about December 30, 2020, Biddeford
Police responded to the Maurer Residence. During the visit, an individual who identified himself
as CHRISTOPHER MAURER provided law enforcement with his address, which was Maurer
Residence and his telephone number, which was Maurer Phone 1.

        In or around March 2022, law enforcement made contact with the management company
for the Maurer Residence. The management company queried records for MAURER and
determined he abandoned the property in January 2022. Law enforcement subsequently conducted
an interview of a member of the management company (“Individual A”). During the interview,

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Individual A was shown three photos of 150-AFO from the U.S. Capitol riot on January 6, 2021.
Individual A identified the individual in the photos as the tenant from the Maurer Residence.
Individual A stated that s/he observed the tenant around the neighborhood living out of his car.
S/he did not recall his name but knew his face.

       In or around March 2022, law enforcement interviewed another tenant of the same
apartment building as the Maurer Residence (“Individual B”). Individual B was shown three
photos of 150-AFO from the U.S. Capitol riot on January 6, 2021. Individual B identified the
individual in the photos as “Chris” from the Maurer Residence. Individual B stated that “Chris”
drove a tan and gold colored truck with veteran plates. He was living out of it now.

       Below are the three photographs shown to Individual A and Individual B:




       During the investigation, law enforcement obtained bank records for an account belonging
to MAURER through legal process. According to bank records, a transaction was made on the
account on January 5, 2021 at 1357 hours for $318.94 to Enterprise Rental in Saco, Maine. The
records also showed that a transaction was made on January 6, 2021 at 1725 hours at a Dunkin
Donuts in Washington, D.C.

        In or around May 2022, law enforcement served legal process on Enterprise Rentals for car
rental records in MAURER’s name. According to Enterprise records, MAURER rented a car from
on or about January 4, 2021 to on or about January 7, 2021. The records listed two potential license
plates for the vehicle rented by MAURER, including New York plate number JNU1196.

       In or around May 2022, law enforcement obtained License Plate Reader results for New
York plate number JNU1196 for January 5 through January 7, 2021. The results indicated that the
vehicle bearing that license plate was read on January 6, 2021 at approximately 8:08 p.m. at South
Capitol Street and I Street SW in Washington, D.C.




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       In or around January 2023, law enforcement was conducting surveillance on U.S. Route 1
near Falmouth, Maine. Law enforcement observed an individual who matched the appearance of
MAURER in a 1999 gold Ford Expedition at the Falmouth, Maine Park and Ride, Exit 15, 295/US
Route 1. It appeared that MAURER may have been living out of his vehicle. He was subsequently
observed by other agents conducting surveillance in the same area in January 2023. MAURER
was last seen by law enforcement on February 8, 2023.

                                            Conclusion

        Based on the foregoing, your affiant submits there is probable cause to believe that
CHRISTOPHER MAURER violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit
or attempt to commit any act to obstruct, impede, or interfere with any fireman or law enforcement
officer lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

        Your affiant further submits there is probable cause to believe that MAURER violated 18
U.S.C. §§ 111(a)(1) and (b), which makes it a crime to (a) forcibly assault, resist, oppose,
impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 as an officer or
employee of the United States while engaged in or on account of the performance of official
duties; and (b) use a deadly or dangerous weapon or inflict bodily injury during such assault.

         Your affiant also submits that there is probable cause to believe that MAURER violated 18
U.S.C. §§ 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; and (4) knowingly engages in any act of physical violence against
any person or property in any restricted building or grounds; or attempts or conspires to do so. For
purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.




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       Finally, your affiant submits there is also probable cause to believe that MAURER violated
40 U.S.C. §§ 5104(e)(2)(E), and (F), which makes it a crime to willfully and knowingly (E)
obstruct, or impede passage through or within, the Grounds or any of the Capitol Buildings; and
(F) engage in an act of physical violence in the Grounds or any of the Capitol Buildings.

                                                    Respectfully submitted,




                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of February, 2023.
                                                                          Digitally signed by Moxila A.
                                                                          Upadhyaya
                                                                          Date: 2023.02.21 11:47:14 -05'00'
                                                    ___________________________________
                                                    MOXILA A. UPADHYAYA
                                                    U.S. MAGISTRATE JUDGE




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